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3844 (Rev. 06/17)

CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet, (SEE /NSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

 

I. (a) PLAINTIFFS

Robert Belcher and Zarina Belcher

(b) County of Residence of First Listed Plaintiff
(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attorneys (Firm Name, Address, and Telephone Number)

Pro Se

Suffolk County

SoA Bivicing, Inc., Orlans PC, The Bank of New York
Mellon, formerly known as The Bank of New York as successor
Trustee to JPMorgan Chase Bank, N.A., as Trustee
County of Residence of First Listed Defendant _ Salt Lake City
(IN U.S, PLAINTIFF CASES ONLY)

NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.
Attorneys (if Known)

Donald W. Seeley Jr., PIB Law, 2 Oliver Street, Suite 405, Boston, MA
02109 (for SPS and BNY); Effie Gikas, Orlans PC, 465 Waverley
Oaks Road, Suite 401, Waltham, MA 02452 (for Orlans PC)

 

 

II. BASIS OF JURISDICTION (Pace an “X” in One Box Oniy)

 

Il]. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X”" in One Box for Plaintiff
(For Diversity Cases Only} and One Box for Defendant)

 

 

 

 

 

 

 

 

J 1° U.S. Government 3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State x) © 1 Incorporated or Principal Place O4 o4
of Business In This State
42 U.S. Government 44 Diversity Citizen of Another State GO 2 6 2 Incorporated and Principal Place Os &s
Defendant (Indicate Citizenship of Parties in Item HI) of Business In Another State
Citizen or Subject of a O 3 O 3 Foreign Nation O6 O86
Foreign Country
IV. NATURE OF SUIT (Ptace an “x” in One Box Only) Click here for: Nature of Suit Code Descriptions.
[ CONTRACT TORTS FORFEITURE/PENALTY. BANKRUPTCY OTHER STMTUTES maul
0 110 Insurance PERSONAL INJURY PERSONAL INJURY = | 625 Drug Related Seizure © 422 Appeal 28 USC 158 & 375 False Claims Act
© 120 Marine 0 310 Airplane © 365 Personal Injury - of Property 21 USC 881 10 423 Withdrawal © 376 Qui Tam (31 USC
C 130 Miller Act 6 315 Airplane Product Product Liability 0 690 Other 28 USC 157 3729(a))
OD 140 Negotiable Instrument Liability O 367 Health Care/ © 400 State Reapportionment
0 150 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS 410 Antitrust
& Enforcement of Judgment Slander Personal Injury © 820 Copyrights © 430 Banks and Banking
0 151 Medicare Act 330 Federal Employers’ Product Liability O 830 Patent © 450 Commerce
© 152 Recovery of Defaulted Liability O 368 Asbestos Personal CO 835 Patent - Abbreviated © 460 Deportation
Student Loans & 340 Marine Injury Product New Drug Application © 470 Racketeer Influenced and
(Excludes Veterans) 345 Marine Product Liability C840 Trademark Corrupt Organizations
0 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR A CURITY © 480 Consumer Credit
of Veteran's Benefits & 350 Motor Vehicle 0 370 Other Fraud © 710 Fair Labor Standards O 861 HIA (1395ff) © 490 Cable/Sat TV
© 160 Stockholders’ Suits 355 Motor Vehicle O 371 Truth in Lending Act © 862 Black Lung (923) © 850 Securities/Commoditics/
© 190 Other Contract Product Liability 380 Other Personal © 720 Labor/Management 0 863 DIWC/DIWW (405(g)) Exchange
© 195 Contract Product Liability | 360 Other Personal Property Damage Relations O} 864 SSID Title XVI © 890 Other Statutory Actions
© 196 Franchise Injury O 385 Property Damage 6 740 Railway Labor Act 0 865 RSI (405(g)) © 891 Agricultural Acts
5 362 Personal Injury - Product Liability 0 751 Family and Medical © 893 Environmental Matters
Medical Malpractice Leave Act © 895 Freedom of Information
| REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS _|© 790 Other Labor Litigation FEDERAL TAX SUITS Act

 

© 210 Land Condemnation

& 220 Foreclosure

© 230 Rent Lease & Ejectment
© 240 Torts to Land

© 245 Tort Product Liability
© 290 All Other Real Property

 

3 440 Other Civil Rights

5 44] Voting

5 442 Employment

443 Housing/
Accommodations

445 Amer. w/Disabilities -
Employment

446 Amer. w/Disabilities -
Other

0 448 Education

 

Habeas Corpus:
0 463 Alien Detainee
6 510 Motions to Vacate
Sentence
6 530 General
© 535 Death Penalty
Other:
6 540 Mandamus & Other
© 550 Civil Rights
© 555 Prison Condition
© 560 Civil Detainee -
Conditions of
Confinement

© 791 Employee Retirement

O 870 Taxes (U.S. Plaintiff

O 896 Arbitration

Income Security Act or Defendant) © 899 Administrative Procedure
G 871 IRS—Third Party Act/Review or Appeal of
26 USC 7609 Agency Decision

IMMIGRATION

 

 

© 462 Naturalization Application
© 465 Other Immigration

Actions

 

© 950 Constitutionality of
State Statutes

 

 

V. ORIGIN (Place an “X” in One Box Only)

O1 Original

Proceeding

VI. CAUSE OF ACTION

[K2 Removed from ao 3
State Court

 

Remanded from
Appellate Court

0 4 Reinstated or
Reopened

(specify)

O 5 Transferred from
Another District

Transfer

Cite the U.S. Civil Statute under which you are filing (Do nor cite jurisdictional statutes unless diversity):
28 U.S.C. §§ 1331, 1332, 1441 and 1446
Brief description of cause:
Plaintiffs seek to enjoin the foreclosure sale of real property

O 6 Multidistrict
Litigation -

O 8 Multidistrict
Litigation -
Direct File

 

 

 

 

VIL REQUESTED IN O CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. $4.3 million JURY DEMAND: {Yes No

VIII. RELATED CASE(S)
IF ANY (Bee instructions ae 8 eles i DOCKET NUMBER tt

DATE SIGNATURE OF ATTORNEY OF RECORD

March 13, 2020 /s/ Donald W. Seeley Jr.

FOR OFFICE USE ONLY

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE
Case 1:20-cv-10511-IT Document 1-2 Filed 03/12/20 Page 2 of 2

JS 44 Reverse (Rev. 06/17)

INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)

(b)

(c)

Il.

Til.

IV.

VI.

VIL.

VIII.

Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
then the official, giving both name and title.

County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)

Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
in this section "(see attachment)".

Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.

United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.

Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
precedence, and box 1 or 2 should be marked.

Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
cases.)

Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
section for each principal party.

Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
that is most applicable. Click here for: Nature of Suit Code Descriptions.

Origin. Place an '"X" in one of the seven boxes.

Original Proceedings. (1) Cases which originate in the United States district courts.

Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
When the petition for removal is granted, check this box.

Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
date.

Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
multidistrict litigation transfers.

Multidistrict Litigation — Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
Section 1407.

Multidistrict Litigation — Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
changes in statue.

Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
Demand, In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
